    Case 15-42604      Doc 124   Filed 04/08/21 Entered 04/08/21 14:31:37              Desc Main
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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                        Eastern Division

In Re:                                         )              BK No.:     15-42604
GEOFFREY L. GEPHART                            )
JANELLE M. GEPHART                             )              Chapter: 13
                                               )
                                                              Honorable Donald R. Cassling
                                               )
                                               )
                Debtor(s)                      )

                   ORDER SUSTAINING DEBTORS' OBJECTION TO CLAIM 23-2

       THIS CAUSE, coming to be heard on Debtors' Objection to Claim 23-2, due notice having been
given and the Court being advised in the premises; IT IS HEREBY ORDERED;

       1. Debtors' objection to Claim 23-2 is sustained.

       2. Claim 23-2 is disallowed in its entirety.

       3. The Trustee is not to collect any funds already disbursed to Old Republic Insurance Company.




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                                                           Enter:


                                                                    Honorable Donald R. Cassling
Dated: April 08, 2021                                               United States Bankruptcy Judge

    Prepared by:
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